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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA )
                         )
                         )
                         )
          V.             )                   CR. NO. 21-476 (APM)
                         )
                         )
SHANE WOODS              )
          Defendant      )

                                             ORDER

       Upon review of the defendant’s motion to vacate the sentencing hearing and schedule

a status hearing in this matter, the court grants Defendant’s motion to vacate the

sentencing hearing and all related filing deadlines. Defense counsel shall submit a status report

as to his client's availability for sentencing by December 15, 2022.
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___________________                                         -05'00'
                                             _____________________________
Date                                         Amit Mehta
                                             United States District Judge
